




02-12-155-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00155-CR

&nbsp;

&nbsp;


 
  
  Braden Lorenzo Harris
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

------------

&nbsp;

FROM THE 371st
District Court OF Tarrant COUNTY

------------

MEMORANDUM
OPINION[1] AND
JUDGMENT

----------

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have considered appellant’s “Motion To Dismiss.”&nbsp; The motion complies with rule
42.2(a) of the rules of appellate procedure.&nbsp; Tex. R. App. P. 42.2(a).&nbsp; No decision of this
court having been delivered before we received this motion, we grant the motion
and dismiss the appeal.&nbsp; See Tex. R. App. P. 42.2(a), 43.2(f).

PER
CURIAM

PANEL:&nbsp; MCCOY, MEIER, and GABRIEL, JJ.

&nbsp;

DO NOT PUBLISH

Tex. R. App.
P. 47.2(b)

&nbsp;

DELIVERED: November 1, 2012&nbsp;









&nbsp;









[1]See Tex. R. App. P. 47.4.







